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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


   BELLA HEALTH AND WELLNESS et al.,
                                                  Case No. 1:23-cv-939-DDD-SKC
           Plaintiffs,

      v.                                            JOINT STATUS REPORT

   PHIL WEISER, in his official capacity as
   Attorney General of Colorado, et al.,

           Defendants.


     Plaintiffs and Defendants in this case, by their undersigned counsel, hereby sub-

  mit this joint status report pursuant to this Court’s order dated August 25, 2023.

  Dkt. 81.

     Rulemaking status. The Medical Board has now adopted final rules implement-

  ing SB 23-190 on a permanent and emergency basis. Dkt. 78. The Medical Board rules

  are effective on October 1, 2023. Id. The Nursing Board is scheduled to conduct its

  hearing on the proposed rules on September 20, 2023. Dkt. 77. The Pharmacy Board

  is scheduled to conduct its hearing on the proposed rules on September 21, 2023. Id.

     1. Pending motions.

     Plaintiffs’ position: Plaintiffs intend to amend their complaint and renew their

  motion for preliminary injunction at the conclusion of the rulemaking process con-

  templated by SB 23-190. Plaintiffs anticipate amending the claims raised in their

  complaint in ways that include, but are not limited to, addressing the ongoing
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  rulemaking process, and are also considering potential new claims. Plaintiffs’ view is

  that there is no need for the Court to expend time or resources ruling on the pending

  motions given that Plaintiffs’ amendments may significantly affect the claims before

  the Court and the defenses that might be asserted to those claims. The Attorney Gen-

  eral’s pending 12(b)(6) motion argues that Bella has failed to state a claim for relief.

  It does not make sense for the Court to opine on the sufficiency of soon-to-be-super-

  seded pleadings when new pleadings are coming soon. The positions taken in the Dis-

  trict Attorneys’ motions concerned the law as it stood this past spring and do not

  address either the law now or the plans and commitments of those offices in light of

  their respective upcoming elections and District Attorney McCann’s decision not to

  seek re-election.1 Plaintiffs believe the best course is for Defendants to set forth their

  positions in response to the amended complaint, which Plaintiffs anticipate filing the

  day after the rulemaking is complete.

      Defendants’ positions:

      The Medical Board: The Medical Board agrees that the Court does not need to rule

  on its pending motion to stay because Plaintiffs intend to amend their complaint.




  1   Primary elections will take place on June 25, 2024, and the general elections will occur on Novem-
  ber 5, 2024. See Secretary of State, 2024 Election Calendar at 1, https://www.sos.state.co.us/pubs/elec-
  tions/calendars/2024ElectionCalendar.pdf; see also Denver District Att’y Office, Denver District Attor-
  ney Beth McCann Announces She Will Not Seek Re-Election, July 20, 2023, https://www.den-
  verda.org/news-release/denver-district-attorney-beth-mccann-announces-she-will-not-seek-re-elec-
  tion-in-2024/.

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     The Board of Nursing: The Board of Nursing also agrees that the Court does not

  need to rule on its pending motion to stay because Plaintiffs intend to amend their

  complaint.

     The Attorney General: The Attorney General believes that Plaintiffs’ forthcoming

  amended complaint will not affect the defenses or arguments raised in the Attorney

  General’s fully briefed motion to dismiss, none of which turns on the rulemaking.

  Dkt. 68. The Attorney General therefore requests that the Court proceed to address

  his pending motion and dismiss him from this case before his motion is mooted by the

  filing of an amended complaint.

     District Attorneys Kellner and McCann: District Attorney Kellner and District

  Attorney McCann disagree that any amended complaint would moot their pending

  motions to dismiss, which turn on issues of standing and mootness that are specific

  to each DA. While Plaintiffs have not conferred with the District Attorneys regarding

  their proposed amendments, none of the facts underlying the DAs’ pending motions

  have changed nor could be altered by amendment. The DAs respectfully request that

  the Court consider and grant their motions to dismiss.

     District Attorney Dougherty: District Attorney Dougherty has no pending motions

  but agrees with the State and the DAs that the issues raised in pending motions to

  dismiss will likely not be mooted by an amended complaint and the Court should rule

  on the motions.




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      2. Amended complaint and preliminary injunction.

      Plaintiffs’ position: Plaintiffs intend to seek leave to amend their complaint and

  file a renewed motion for preliminary injunction as soon as all three Boards have

  completed the rulemaking process.

      To facilitate an orderly briefing process on the renewed preliminary injunction

  motion, and in an effort to avoid emergency briefing, Plaintiffs have requested that

  all Defendants agree not to enforce SB 23-190 or its implementing Board rules

  against any licensee for any activity during the period of three (3) weeks after the

  effective date of October 1, 2023. This period would expire on October 23, 2023.2

      Should the Defendants approve the proposed three-week period of non-enforce-

  ment, Plaintiffs would propose the following schedule:

         •   Plaintiffs shall amend their complaint and file their renewed motion for
             preliminary injunction no later than September 22, the day after the rule-
             making is complete.
         •   Defendants shall respond to the motion for preliminary injunction no later
             than October 3.
         •   Plaintiffs shall file any reply in support of the motion for preliminary in-
             junction no later than October 9.
      Plaintiffs would respectfully request that the Court convene a preliminary injunc-

  tion hearing on or about October 11. Plaintiffs would respectfully request a ruling

  on the preliminary injunction motion no later than October 23.




  2   The sole purpose of this temporary period of non-enforcement would be to ensure an orderly brief-
  ing and decision process. This period is in no way intended, and shall not be invoked by any party, as
  a reason to grant or deny the motion for preliminary injunction.

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     Should the Defendants decline to approve the proposed three-week period of non-

  enforcement, Plaintiffs would be forced to seek emergency relief in advance of the

  rule’s October 1 effective date. In that circumstance, Plaintiffs would propose the fol-

  lowing schedule:

        •   Plaintiffs shall amend their complaint and file their renewed motion for
            temporary restraining order and preliminary injunction no later than Sep-
            tember 22, the day after the rulemaking is complete.
        •   Defendants shall respond to the motion for temporary restraining order and
            preliminary injunction no later than September 26.
        •   Plaintiffs shall file any reply in support of the motion for temporary re-
            straining order and preliminary injunction no later than September 28.
     Plaintiffs would respectfully request a ruling on the motion for temporary re-

  straining order and preliminary injunction no later than October 1.

     Plaintiffs disagree that the District Attorneys should be exempt from the upcom-

  ing preliminary injunction briefing based on their pending motions to dismiss, which

  do not address either the constitutionality of the law or the plans or commitments of

  their offices in light of their respective upcoming elections. The District Attorneys’

  participation in preliminary injunction briefing would be unnecessary if they were to

  agree to an injunction.

     Defendants’ positions:

     The Medical Board: Counsel anticipates conducting an emergency Board meeting

  on September 6 to consider Plaintiffs’ request for a period of non-enforcement. Coun-

  sel will file a status report within two business days of the Board’s vote. Counsel has

  no objection to Plaintiffs’ proposed briefing schedules.

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     The Board of Nursing: Counsel intends to address Plaintiffs’ request for a period

  of non-enforcement with the Board during its September 20, 2023 rulemaking hear-

  ing. Counsel for the Board will file a status report within two business days of that

  meeting. Counsel has no objection to Plaintiffs’ proposed briefing schedules.

     The Attorney General: Because the Attorney General only brings professional li-

  censure actions involving doctors or nurses when matters are referred to him by the

  respective licensing boards, if the Boards vote to adopt a three-week period of non-

  enforcement, that will necessarily cover the Attorney General’s role in licensure ac-

  tions as well. Accordingly, provided the Boards adopt a three-week period of non-

  enforcement, the Attorney General agrees not to enforce the statute or rules during

  that three-week period as well. Counsel has no objection to Plaintiffs’ proposed brief-

  ing schedules.

     District Attorneys Kellner and McCann: As set forth in their motions to dismiss,

  District Attorney Kellner and District Attorney McCann have already informed the

  Court that they will not enforce the statute at issue against these Plaintiffs. For this

  reason, no injunctive relief is necessary against the DAs, and no purpose would be

  served by having the DAs file separate (and potentially duplicative) briefs opposing

  a preliminary injunction or participate in an evidentiary hearing.

     District Attorney Dougherty: District Attorney Dougherty does not have the au-

  thority to enforce the implementing Board rules of SB 23-190 against any licensee




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  and therefore does not intend to enforce them. DA Dougherty will agree not to bring

  a CCPA claim against Plaintiffs before October 23, 2023.

     3. Any other matters. There are no other matters to bring to the Court’s atten-

  tion at this time.



  Dated: September 1, 2023                 Respectfully submitted,

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                              CERTIFICATE OF SERVICE

     I hereby certify that on September 1, 2023, I electronically filed the above joint

  status report with the Clerk of Court via CM/ECF, which will provide electronic cop-

  ies to counsel of record.

                                                 s/ Mark L. Rienzi
                                                 Mark L. Rienzi




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